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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

JOHN DOE                                          )
                                                  )         Case No.
       v.                                         )         17-cv-748
                                                  )
COLUMBIA COLLEGE CHICAGO,                         )         JUDGE
et. al.,                                          )
                                                  )
               Defendants                         )
                                                  )
                                                  )



                                   Order Granting Plaintiff’s Motion
                                to Allow the Parties to Use Pseudonyms


       Upon Motion and for good cause shown, it is ordered: (a) Plaintiff will be referred to as

Doe; (b) the female Defendant in this case – Jane Roe - shall be referred to as Roe; (c) Columbia

College Chicago students involved in this proceeding will be referred by their first name only;

and (d) Parties will file under seal with this Court un-redacted copies of any redacted exhibits

attached to any court filing.

       It is so ordered.



                                     _________________________________________
                                     THE HONORABLE JUDGE

                                     _____________________
                                            Date
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Respectfully submitted,
Attorney for John Doe

By: /s/ Chard Nold

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